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                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF DELAWARE


 In re                                           Chapter 11

 FLEETWOOD ACQUISITION CORP.,                    Case No. 19-12330 (   )

                        Debtor.

 Fed. Tax Id. No. XX-XXXXXXX


 In re                                           Chapter 11

 HIGH COUNTRY MILLWORK, INC.,                    Case No. 19-12331 (   )

                        Debtor.

 Fed. Tax Id. No. XX-XXXXXXX


 In re                                           Chapter 11

 FLEETWOOD INDUSTRIES, INC. d/b/a                Case No. 19-12332 (   )
 FLEETWOOD FIXTURES,

                        Debtor.

 Fed. Tax Id. No. XX-XXXXXXX


                   DEBTORS’ MOTION FOR ENTRY OF AN ORDER
                 DIRECTING JOINT ADMINISTRATION OF RELATED
               CHAPTER 11 CASES FOR PROCEDURAL PURPOSES ONLY

         Fleetwood Acquisition Corp. and its chapter 11 affiliates, the debtors and debtors in

possession (collectively, the “Debtors”) in the above captioned chapter 11 cases (the “Cases”),

hereby move the Court (the “Motion”) for entry of an order, substantially in the form attached

hereto as Exhibit A, pursuant to Rule 1015(b) of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”) and Rule 1015-1 of the Local Rules of Bankruptcy Practice and Procedure
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of the United States Bankruptcy Court for the District of Delaware (“Local Rules”), authorizing

and directing the joint administration of the Debtors’ related chapter 11 cases for procedural

purposes only. In support of the Motion, the Debtors rely on the Declaration of Octavio Diaz,

Chief Restructuring Officer of Fleetwood Acquisition Corp., et al., in Support of Debtors’ Chapter

11 Petitions and First Day Motions (the “First Day Declaration”)1 filed concurrently herewith. In

further support of the Motion, the Debtors respectfully represent as follows:

                                                  JURISDICTION

           1.       The United States Bankruptcy Court for the District of Delaware (the “Court”) has

jurisdiction over these Cases and the Motion pursuance to 28 U.S.C. §§ 157 and 1334, and the

Amended Standing Order of Reference from the United States District Court for the District of

Delaware dated as of February 29, 2012. This is a core proceeding within the meaning of 28

U.S.C. § 157(b)(2). Venue of these Cases and the Motion in this district is proper under 28 U.S.C.

§§ 1408 and 1409.

           2.       Pursuant to Local Rule 9013-1(f), the Debtors consent to the entry of a final

judgment or order with respect to the Motion if it is determined that the Court, absent consent of

the parties, cannot enter final orders or judgments consistent with Article III of the United States

Constitution.

           3.       The statutory and legal predicates for the relief requested herein are section 105(a)

of the Bankruptcy Code, Bankruptcy Rule 1015, and Local Rule 1015-1.

                                                  BACKGROUND

           4.       On the date hereof (the “Petition Date”), each of the Debtors commenced a

voluntary case under chapter 11 of the Bankruptcy Code.



1
    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the First Day Declaration.

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          5.      The Debtors are authorized to continue to operate their businesses and manage their

property as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

No trustee, examiner or statutory committee has been appointed in these Cases by the Office of

the United States Trustee for the District of Delaware (the “U.S. Trustee”).

          6.      More detailed factual background regarding the Debtors and the commencement of

these Cases is set forth in the First Day Declaration.

                                         RELIEF REQUESTED

           7.      By this Motion, the Debtors seek entry of an order directing the joint

    administration of their Cases and the consolidation thereof for procedural purposes only. The

    Debtors also request that the caption of their Cases be modified to reflect their joint administration

    as follows:

                                 UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF DELAWARE


In re                                                    Chapter 11

FLEETWOOD ACQUISITION CORP., et al.,1                    Case No. 19-12330 (___)

                                                         (Jointly Administered)
                           Debtors.


1
  The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal
tax identification number, are as follows: Fleetwood Acquisition Corp. (3051), Fleetwood
Industries, Inc. d/b/a Fleetwood Fixtures (7530), and High Country Millwork, Inc. (7294). The
mailing address for the Debtors, solely for purposes of notices and communications, is: 4076
Specialty Place, Longmont, Colorado 80504.

          8.      In addition, the Debtors request that the Court establish a joint docket and file for

these Cases, and direct the clerk of the Court (the “Clerk”) to make a notation substantially similar

to the following on the docket of each Debtor (other than Fleetwood Acquisition Corp.):



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               An order has been entered in this case directing the joint
               administration of the chapter 11 cases of Fleetwood Acquisition
               Corp., Fleetwood Industries, Inc. and High Country Millwork Inc.
               and all subsequently filed chapter 11 cases of such debtors’ affiliates.
               The docket in the chapter 11 case of Fleetwood Acquisition Corp.,
               Case No. 19-12330 (___) should be consulted for all matters
               affecting this case.

       9.      Finally, the Debtors request that the Court permit use of a combined service list and

combined notices.

                                       BASIS FOR RELIEF

       10.     Bankruptcy Rule 1015(b) provides that if two or more petitions are pending in the

same court by or against a debtor and an affiliate, joint administration is permissible. See Fed. R.

Bankr. P. 1015(b). Additionally, Local Rule 1015-1 permits entry of such an order without notice

or the opportunity for a hearing if the Debtors demonstrate that such treatment is warranted.

       11.     Bankruptcy Rule 1015 promotes the efficient and economical administration of

affiliated debtors’ related cases, while also ensuring that individual creditors’ rights are not unduly

prejudiced. See In re Brookhollow Assocs., 435 F. Supp. 763, 766 (D. Mass. 1977) (stating that

joint administration “help[s] the bankruptcy court to administer economically and efficiently

different estates with substantial interests in common”), aff’d, 575 F.2d 1003 (1st Cir. 1978); In re

Parkway Calabasas, Ltd., 89 B.R. 832, 836 (Bankr. C.D. Cal. 1988) (“The purpose of joint

administration is to make case administration easier and less expensive than in separate cases,

without affecting the substantive rights of creditors . . . .”). As stated in the Official Committee

Note to Bankruptcy Rule 1015, joint administration expedites cases and reduces their overall cost:

               Joint administration as distinguished from consolidation may include
               combining the estates by using a single docket for the matters occurring
               in the administration, including the listing of filed claims, the combining
               of notices to creditors of the different estates, and the joint handling of
               other purely administrative matters that may aid in expediting the cases
               and rendering the process less costly.


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Fed. R. Bankr. P. 1015 (Committee Note ¶ 4).

       12.     Joint administration is warranted in these Cases because (i) the Debtors’ financial

affairs and business operations are closely related, and (ii) joint administration will ease the

administrative burden on the Court and other parties.

       13.     Joint administration will prevent duplicative efforts and unnecessary expenses,

without any risk of prejudice to creditors, because the relief sought herein does not seek to

consolidate the Debtors for substantive purposes.

       14.     With three affiliated debtors, each with its own case docket, administering these

Cases separately would result in duplicative pleadings, notices, and orders filed and served upon

separate service lists. This unnecessary duplication would be costly for the estates and would not

create any counterbalancing benefit for creditors.

       15.     Separate administration would also tax the estates’ administration, diverting

valuable resources away from substantive issues. In contrast, joint administration will permit the

Clerk to use a single general docket for each of the Cases and to combine notices to creditors and

other parties in interest of the Debtors’ respective estates, eliminating the confusion and waste that

would be caused by separate administration.

       16.     Finally, maintaining separate cases may confuse creditors. By jointly administering

the estates, creditors and other parties in interest will receive notice of all matters involving all of

the entities that are required to be served on such parties (respectively), thereby ensuring that

creditors and other parties in interest are fully informed of all matters potentially affecting their

claims. Further, using a simplified caption page for all pleadings will eliminate cumbersome

pleadings and ensure a uniformity of pleading identification.

       17.     The Debtors request that the official caption to be used by all parties in all pleadings



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in the jointly administered cases be in the form set forth above. The Debtors submit that use of

the simplified caption will eliminate cumbersome and confusing procedures and ensure a

uniformity of pleading identification.

        18.     The relief requested herein is purely procedural and is not intended to and does not

effectuate substantive consolidation of the Debtors’ estates. Thus, there will be no material

prejudice to creditors or other parties in interest if these estates are jointly administered. Indeed,

the interests of all creditors will be served by the reduction in costs and administrative burdens

resulting from joint administration.

                                               NOTICE

        19.     The Debtors will provide notice of this Motion to: (i) the U.S. Trustee; (ii) holders

of the 30 largest unsecured claims on a consolidated basis against the Debtors; (iii) counsel to

Fixture Holdings, L.P., in its capacity as administrative agent and lender under the Debtors’ senior

secured credit facilities; and (iv) all parties who, as of the filing of this Motion, have filed a notice

of appearance and request for service of papers pursuant to Bankruptcy Rule 2002. As this

Motion is seeking “first day” relief, within two business days of the hearing on this Motion, the

Debtors will serve copies of this Motion and any order entered in respect to this Motion as

required by Local Rule 9013-1(m). In light of the nature of the relief requested herein, the Debtors

submit that no other or further notice is necessary.



                            [Remainder of page intentionally left blank.]




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                                         CONCLUSION

               WHEREFORE, for the reasons set forth herein and in the First Day Declaration,

the Debtors respectfully request that this Court enter an order, substantially in the form attached

hereto, granting the relief requested in the Motion and such other and further relief as is just and

proper.


Dated:    November 4, 2019
          Wilmington, Delaware
                                              BAYARD, P.A.

                                              /s/ Erin R. Fay
                                              Erin R. Fay (No. 5268)
                                              Evan T. Miller (No. 5126)
                                              Daniel N. Brogan (No. 5723)
                                              600 North King Street, Suite 400
                                              Wilmington, Delaware 19801
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                                              Email: efay@bayardlaw.com
                                                      emiller@bayardlaw.com
                                                      dbrogan@bayardlaw.com

                                              Proposed Counsel for the Debtors




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                    EXHIBIT A

                   Proposed Order
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                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF DELAWARE


    In re                                                    Chapter 11

    FLEETWOOD ACQUISITION CORP.,                             Case No. 19-12330 (         )

                              Debtor.

    Fed. Tax Id. No. XX-XXXXXXX


    In re                                                    Chapter 11

    HIGH COUNTRY MILLWORK, INC.,                             Case No. 19-12331 (         )

                             Debtor.

    Fed. Tax Id. No. XX-XXXXXXX


    In re                                                    Chapter 11

    FLEETWOOD INDUSTRIES, INC. d/b/a                         Case No. 19-12332 (         )
    FLEETWOOD FIXTURES,

                             Debtor.

    Fed. Tax Id. No. XX-XXXXXXX


                   ORDER DIRECTING JOINT ADMINISTRATION OF
            RELATED CHAPTER 11 CASES FOR PROCEDURAL PURPOSES ONLY

            Upon the motion (the “Motion”)1 of Fleetwood Acquisition Corp., and its chapter 11

affiliates, the debtors and debtors in possession (collectively, the “Debtors”) in the above-

captioned jointly administered chapter 11 cases (the “Cases”), for entry of an order, pursuant to

Rule 1015(b) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and Rule




1
    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion.
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1015-1 of the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy

Court for the District of Delaware, authorizing and directing the joint administration of the

Debtors’ related chapter 11 cases for procedural purposes only; and upon consideration of the First

Day Declaration and the record of these chapter 11 cases; and it appearing that the Court has

jurisdiction to consider the Motion pursuant to 28 U.S.C. §§ 1334 and 157, and the Amended

Standing Order of Reference from the United States District Court for the District of Delaware

dated February 29, 2012; and it appearing that the Motion is a core matter pursuant to 28 U.S.C. §

157(b)(2) and that the Court may enter a final order consistent with Article III of the United States

Constitution; and it appearing that venue of these Cases and of the Motion is proper pursuant to

28 U.S.C. §§ 1408 and 1409; and it appearing that due and adequate notice of the Motion has been

given under the circumstances, and that no other or further notice need be given; and it appearing

that the relief requested in the Motion is in the best interests of the Debtors’ estates, their creditors,

and other parties in interest; and after due deliberation, and good and sufficient cause appearing

therefor, it is hereby ORDERED, ADJUDGED, AND DECREED THAT:

         1.      The Motion is GRANTED, as set forth herein.

         2.      The above-captioned Cases are hereby consolidated for procedural purposes only

 and shall be jointly administered by this Court. Nothing contained in this Order shall be deemed

 or construed as directing or otherwise effecting a substantive consolidation of the above-

 captioned cases.




                                                    2
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           3.       The caption of the jointly administered Cases shall read as follows:

                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF DELAWARE


                                                          Chapter 11
In re
                                                          Case No. 19-12330 (___)
FLEETWOOD ACQUISITION CORP., et al.,1
                                                          (Jointly Administered)
                           Debtors.


1
  The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal
tax identification number, are as follows: Fleetwood Acquisition Corp. (3051), Fleetwood
Industries, Inc. d/b/a Fleetwood Fixtures (7530), and High Country Millwork, Inc. (7294). The
mailing address for the Debtors, solely for purposes of notices and communications, is: 4076
Specialty Place, Longmont, Colorado 80504.

           4.       The foregoing caption shall satisfy the requirements of section 342(c)(1) of the

    Bankruptcy Code.

           5.       All original pleadings shall be captioned as set forth immediately above, and all

    original docket entries shall be made in the case of Fleetwood Acquisition Corp., Case No. 19-

    12330 (___).

           6.       The Clerk shall make a notation substantially similar to the following on the docket

    of each Debtor (other than Fleetwood Acquisition Corp.):

                   An order has been entered in this case directing the joint
                   administration of the chapter 11 cases of Fleetwood Acquisition
                   Corp., Fleetwood Industries, Inc. and High Country Millwork Inc.
                   and all subsequently filed chapter 11 cases of such debtors’ affiliates.
                   The docket in the chapter 11 case of Fleetwood Acquisition Corp.,
                   Case No. 19-12330 (___) should be consulted for all matters
                   affecting this case.

           7.       The Clerk shall maintain a single pleadings docket and file under the case number

    assigned to Fleetwood Acquisition Corp., which shall be the pleadings docket and file for all of




                                                      3
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these Cases.

       8.      This Order shall be without prejudice to the rights of the Debtors to seek entry of

an order substantively consolidating their respective cases.

       9.      The Court retains jurisdiction with respect to all matters arising from or related to

the implementation or interpretation of this Order.


Dated: November __, 2019
       Wilmington, Delaware


                                             UNITED STATES BANKRUPTCY JUDGE




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